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Entry Number 85-1

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CR 83924701 09/01/2017 8/31/2024 2449 Annual
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CR 83940001 12/01/2019 11/30/2023 1628 Annual
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CR 83948101 05/01/2019 4/30/2024 1842 Annual
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Moonshot Missions Inc. MD
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City of Hartford Department of Health and Human Services CT
Commonwealth of Virginia Dept. of Env. Quality VA
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City of San Pablo CA
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Housing Authority of the City of Los Angeles CA
Louisiana Department of Environmental Quality LA
National Center for Manufacturing Sciences Inc. MI
Environmental Law Institute DC
Restore America's Estuaries VA
Restore America's Estuaries DC
Health Research Inc. NYS Dept of Health NY
Community Development Institute co
University of Mississippi Medical Center MS
State of Oklahoma East Central University OK
Water Research Foundation co
Regents of the University of Minnesota MN
University of Wisconsin - Madison WI!
Oregon State University OR
Colorado School of Mines co
National Academy of Science/NRC DC
University of Massachusetts MA
Health Effects Institute MA
Worcester Polytechnic Institute MA
University of Georgia Research Foundation Inc GA
Trustees of Indiana University IN
North Carolina State University NC
Purdue University IN
University of North Carolina at Chapel Hill dba Office of Contracts and Grants NC
University of Dayton OH
Water Research Foundation co
The Johns Hopkins University MD
VA Institute of Marine Science VA
Michigan State University MI
University of North Carolina at Chapel Hill dba Office of Contracts and Grants NC
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Greater Baybrook Alliance, Inc. MD
Yurok Tribe CA

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Metro Community Ministries GA
Live Healthy:Little Havana, Inc. FL
Tulalip Tribes of Washington WA
Mid America Regional Council Comm Svcs Corp MO
Namati, Inc. DC
SEEED Inc TN
Vista Community Clinic CA
Energy:Coordinating Agency of Philadelphia PA
Science, Technology and Research Institute of Delaware DE
University of Alaska - Fairbanks AK
Kodiak Area Native Association AK
University of Oregon OR
Water Wise Gulf South LA
Na Moku Aupuni O Ko-Olau Hui HI
Santa Monica Bay Restoration Foundation CA
Kaw. Nation of Oklahoma OK
Choctaw Nation of Oklahoma OK
Otoe-Missouria Tribe of Oklahoma OK
Mescalero Apache Tribe NM
Saint Regis. Mohawk Tribe NY
Chickasaw Nation OK
City.of Jackson MS
JXN Water MS
Environmental Law institute DC
Northern Arizona University AZ
Arizona Board of Regents/Northern Arizona.U AZ
State of Oklahoma East Central University OK
Toledo Metropolitan Area Council of Governments OH
Rowan Univ. - Rowan University NJ
Rural Community Assistance Partnership Inc DC
Wichita State University dba Office of Research and Sponsored Programs KS
Syracuse University NY:
Mountains to Sound Greenway Trust WA
Grand Rapids Community-College Mi
American Water Works Association co
Vermont D.E.C. VT
University of New Hampshire NH
NORTH AMERICAN ASSOCIATION FOR ENVIRONMENTAL EDUCATION, INC. DC
iowa Department of Natural Resources IA
Missouri Department of Natural Resources MO
Ohio Environmental Protection Agency OH
WY Department of Environmental Quality WY
Cherokee Nation OK
Rhode Island D.E.M. Rl
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MS Dept of Environmental Quality MS
Oregon Health Authority OR
Otoe-Missouria Tribe of Oklahoma OK
WY. Department of Environmental Quality WY
Recreation and Conservation Office WA
Texas Commission on-Environmental Quality TX
Oklahoma Water Resources Board OK
North Dakota Department of Environmental Quality ND
Northwest Indian Fisheries Commission WA
Hualapai Tribe AZ
Environmental Council of the States DC
Muscogee (Creek) Nation OK
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University of Alaska - Anchorage AK
Washington Department of Ecology WA

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HAZELETTA BURGESS
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Entry Number 85-1

DAPHNE WILSON
DAPHNE WILSON
JESSICA MONTROSS
MONICA ESPINOSA
STEPHANIE BRANCHE
VICTORIA LUDWIG
SHERYL STOHS
KATHLEEN KIRKLAND
RICHARD CALLAN
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HARRISON CHENG
ERICA YELENSKY
ANDREA GUAJARDO
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WILLIAM POST
MATTHEW SEHRSWEENEY
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MATTHEW. COOKE
REGINA CHAPPELL
PAT CHILDERS
MATTHEW RICHARDSON
ELISABETH SCHLAUDT
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ZACHARY. LOWENSTEIN
IVAN NIEVES

JAMES HORNE

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GINGER POTTER
CASSANDRA KRUL
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ROBERT SENOW
SHAWN HERNANDEZ
ANTHONY. MATTHEWS
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ROBERT SENOW
JAMES DAVIES
HARRY DENTON
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California Environmental Protection Agency

Bishop indian Tribal Council
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Texas Commission.on Environmental Quality
OK Dept of Env Quality

Standing Rock Sioux Tribe

North Dakota Department of Environmental Quality
CO.Department of Public Health and Environment
MT Department of Environmental Quality

New Mexico.Environment Department

Recreation and Conservation Office

Washington State Dept. of. Natural Resources

NORTHERN ARIZONA UNIVERSITY

Big Valley. Rancheria Band of Pomo Indians

WV Dept of Environmental Protection

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University Enterprises Inc. on behalf of Sacramento State Univ
Alaska Department of Natural Resources

Texas Water Development Board
Oklahoma Water Resources Board

VA Dept of Environmental Quality

UT-Department of Environmental Quality

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Shoshone Paiute Tribes. of Duck Valley

Purdue University

AZ Dept of Env-Quality

Louisiana Department of Natural Resources
Cherokee Nation

Owens Valley Indian Water Commission

ID Dept. of Environmental Quality

HI Dept of Health

CO.Department of Public Health and Environment
Fond Du Lac Band of Chippewa

Eight Northern Indian Pueblo Council

Kansas Department of Health and Environment
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Recreation and Conservation Office

NV-Dept of Cons -& Ntrl Resources
Shoshone-Bannock Tribes of the Fort Hall Reserv
Penobscot Indian Nation

Pennsylvania Dept of Environmental Protection
Confederated ‘Tribes and Bands of the Yakama Nation

New Hampshire D.E.S.
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Dry Creek Rancheria
OK Dept of Agriculture Food and Forestry

Nebraska State Fire Marshall
MT. Department of Environmental Quality

Redwood Valley Little River Band of Pomo Indians
Upper Mattaponi indian Tribe

NYS Dept of Environmental Conservation

OK Dept of Env Quality

Arkansas Division of Environmental Quality

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Arkansas Natural.Resources Commission

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SHAWN HERNANDEZ
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HARRY DENTON
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VIRGINIA THOMPSON
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Kashia Band of Pome Indians of The Stewarts.Point Rancheria CA
Native American Environmental Prot. Coalition CA
Rhode Island:D.E.M. Ri
Massachusetts E.0.E.E.A. MA
University of Massachusetts MA
Air Resources Board CA
Monterey Bay Unified APCD CA
Louisiana Department of Environmental Quality LA
Otoe-Missouria Tribe of Oklahoma OK
New Jersey Sports and Exposition Authority dba Monmouth Park Raacetrack NJ
FL: Dept of Environmental. Protection FL
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Kansas Department of Health and Environment KS
Rhode Island Infrastructure Bank Rl
Texas.Commission on Environmental Quality TX
The University of North Carolina at Chapel Hill dba Office of Contracts and Grants NC
NV Department of Conservation and Natural Resources NV
South Carolina Dept. of Health & Envir. Control sc
New Hampshire D.E.S. NH
HI Dept of Health Hi
CA State Water Res Ctrl Brd CA
Northwest Indian Fisheries Commission WA
Nevada System of Higher Education Western Nevada College NV
Rhode Island D.E.M. Rl
AZ-Dept of Env Quality AZ
NV Department of Conservation and Natural Resources NV
White Mountain Apache Tribe AZ
District of Columbia Govi of dba Department of Energy and Environment DC
North Dakota Department of Environmental. Quality ND
State of Delaware DNREC DE
Arkansas. Department of Environmental Quality AR
WA Dept of Health WA
Shoshone-Bannock ‘Tribes of the Fort Hall Reserv iD
WV Dept of Environmental Protection wv
Pollution Liability Insurance Agency WA
CO Department of Public Health and Environment co
Oklahoma Water:-Resources Board OK
Missouri Department of Natural Resources MO
UT Department of Environmental Quality UT.
PA Dept of Environmental Protection PA
Kansas Department of Health and Environment KS
Kansas State University KS
Standing Rock Sioux Tribe ND
Upper Mattaponi Indian Tribe VA
MT. Department of Environmental Quality MT
Northeast States for Coordinated Air Use Management MA
Oregon State University OR
University of Vermont State and Agri. College VT
Purdue University IN
University of Florida FL
West Virginia University WV.
University of Tennessee TN
Cherokee Nation OK
National Experienced Workforce Solutions, Inc. VA

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JENNIFER BROOKS
ROBIN HOLDER
HAZELETTA BURGESS
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WENDY FONG OMS
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84059401
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84031501
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83950101
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National Caucus .& Center-on Black Aging inc
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Center:For Workforce Inclusion, Inc.

National Caucus & Center on Black Aging Inc
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Center For Workforce Inclusion, Inc.

National Caucus & Center.on Black Aging Inc
National Experienced Workforce Solutions, Inc.
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National Association for Hispanic Elderly

National Experienced Workforce Solutions, Inc.
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National Experienced Workforce Solutions, Inc.
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National Caucus & Center on Black Aging Inc
National Experienced Workforce Solutions, Inc.
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Michigan State University

Research Triangle Institute

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Texas A&M AgriLife Research
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Massachusetts Institute of Technology
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Water: Research Foundation

University of California Berkeley

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Colorado State University-.Sponsored Program

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Puerto Rico Science, Technology & Research Trust

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Texas Tech University

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Michigan State University

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Gonzaga University

Oregon State University

Ball State University

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Georgetown University
UnivTNBio&En - University of Tennessee at Chattanooga

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ClarksonU2- Clarkson University

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New Jersey Institute of Technology

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Kansas State University
International.City/County Mgmt. Assoc.
Eastern lowa Community College District
Groundwork USA

Kansas State University

Center for Creative Land Recycling

National Rural Water Association

Rural Community Assistance Partnership Inc
University of New Mexico

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New England Interstate Water Pollution Control Commission
New England Interstate Water Pollution Control Commission

Assoc. St. & Terr Solid Waste Mgmt. Off.

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Association of State Wetland Managers Inc

National Fish & Wildlife Foundation

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Association of State Wetland Managers Inc
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WV University Research Corporation

Michigan Technological University

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Assoc. of State & Territorial Health Officials

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University of New Mexico

National Rural Water Association

Rural Community Assistance Partnership Inc
National Rural Water Association

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Environmental Law Institute

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Center for Watershed Protection Inc.
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Association of State Wetland Managers Inc
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ELIZABETH SAMS ORD

ORLANDO GONZALEZ OITA

MEGAN BARNHART OITA 4/26/2024
RACHEL WESTRATE OITA

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DAN MURPHY OA

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KATIE FLAHIVE Ow

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Oregon State University

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Association of Farmworkers Opportunity-Programs

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Arizona Board of Regents/Northern Arizona U
Zender Environmental Health and Research Group
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international Council on Clean Transportation
Weber State University

United Nations Foundation

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Stanford University

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Council of State Governments
American Lung Association

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Kansas State University
Environmental Law Institute

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Public Health Institute
National Center:for Healthy-Housing

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National Association of Clean Air Agencies

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Northern Arizona University

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ALISON HANLON
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IRINA MYERS
STEPHANIE BURKHARDT
IRIS CAMACHO-RAMOS
VENESE WILLIAMS
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ERIC SMITH

NED DOWDELL
PEGGY BAGNOLI
THOMAS BOWLES
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The Center for Land Reform MI
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University of Wisconsin - Madison WI
Upper Mississippi River Basin Assn MN
Moonshot Missions Inc. MD
Sand County Foundation WI!
US Water Alliance DC
Rural Community Assistance Partnership Inc DC
Clemson University Sc
West Virginia University WV
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District of Columbia Govt of dba Department of Energy and Environment DC
Washington Department of Ecology WA
Kansas State University KS
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OREGON COMMUNITY WAREHOUSE OR
CITY OF JOPLIN MO
NE RESOURCE RECOVERY NH
Recycle Hawaii HI
Bandera County Committee On Aging, Inc. TX
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CITY OF LONG BEACH CA
CITY OF NEW YORK NY
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Nenana Native Association AK
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Palmetto Futures NC
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City of Minneapolis MN
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City of Milwaukee wi
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City of San Pablo CA
District of Columbia.Govt of dba Department.of Energy and Environment DC
Housing Authority of the City of Los Angeles CA
Louisiana Department of Environmental Quality LA
National Center for Manufacturing Sciences Inc. Mi
Environmental Law Institute DC
National Center for Manufacturing Sciences Inc. Mi
Restore America's Estuaries VA
Restore America's Estuaries DC
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Community Development Institute co
University of Mississippi Medical Center MS
State of Oklahoma East Central University OK
Water-Research Foundation co
Regents of the University of Minnesota MN
University.of Wisconsin -.Madison Wi!
Oregon State University OR
Colorado School of Mines co
National Academy of Science/NRC DC
University-of Massachusetts MA
Health Effects Institute MA
Worcester Polytechnic Institute MA
University of Georgia Research Foundation Inc GA
Trustees of Indiana University IN
North Carolina State University NC
Purdue.University IN
University of North Carolina at Chapel Hill dba Office of Contracts and Grants NC
University.of Dayton OH
Water Research Foundation co
The Johns Hopkins University MD
VA Institute of Marine Science VA
Michigan State University MI
University of North Carolina at Chapel Hill dba Office of Contracts and Grants NC
Duke University NC
Emory University GA
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Georgia Tech Research Corporation GA
University of Texas at Austin TX
Regents of-the University of Minnesota MN
Battelle Memorial Institute OH
Pioneer Bay. Community Development Corporation FL
Kaunalewa HI
PONTCHARTRAIN CONSERVANCY. LA
Greater Baybrook Alliance, Inc. MD
Yurok Tribe C
Metro Community Ministries GA
Live Healthy Little Havana, Inc. FL
Tulalip Tribes of Washington WA
Mid America Regional. Council Comm-Svcs.Corp MO
Namati, Inc. DC
SEEED Inc TN
Vista Community Clinic CA

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Township SHANA ETHERIDGE
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EUGENE BENOIT
GRACE GONTAREK
SHERYL STOHS
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MADELINE ISENBERG
SORCHA VAUGHAN
VANESSA SIMMS
MARK RAYOS
SERGIO. KOCHERGIN
MATTHEW COOKE
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GINA BOWLER
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INTAEK HAHN

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BETTYJO MILLER
HAYLEY-AJA

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MIKE SCHMITT
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RICHARD CALLAN
JACQUELYN HARPER
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HANNAH WILLIAMS
BENJAMIN SIMES
DAPHNE WILSON
ERICKA FARRELL
ZACHARY LOWENSTEIN
RICHARD PAISTE
ERICA BOLLERUD
DAPHNE WILSON
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MONICA ESPINOSA
STEPHANIE BRANCHE
VICTORIA LUDWIG
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Energy Coordinating Agency.of Philadelphia PA
Science, Technology and Research Institute of Delaware DE
University of Alaska --Fairbanks AK
Kodiak Area Native Association AK
University of Oregon OR
Morrow County OR
University of Missouri System MO
University of Maine ME
State of Delaware DNREC DE
Native Village of Kotzebue AK
University of Maine ME
University of Alaska - Anchorage AK
University of illinois IL
Water Wise Gulf South LA
Na Moku Aupuni.O Ko Olau Hui Hi
Santa Monica Bay Restoration Foundation CA
Kaw Nation of Oklahoma OK
Choctaw Nation of Oklahoma OK
Otoe-Missouria Tribe of Oklahoma OK
Mescalero Apache Tribe NM
Saint Regis Mohawk Tribe NY.
Chickasaw Nation OK
City of Jackson MS
JXN Water MS
Environmental Law institute DC
Northern Arizona University AZ
Arizona Board of Regents/Northern Arizona U AZ
State of Oklahoma East Central University OK
Toledo Metropolitan Area Council of Governments OH
Rowan Univ. - Rowan University NJ
Rural Community Assistance. Partnership inc DC
Wichita State University dba Office of Research and Sponsored Programs KS
Syracuse University NY
Mountains to Sound Greenway Trust WA
Grand Rapids Community College Ml
American Water Works Association co
Rural Community Assistance Partnership Inc DC
Vermont D.E.C. VT
University.of New Hampshire NH
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Missouri Department of Natural Resources MO
Ohio Environmental Protection Agency OH
WY Department of Environmental Quality WY
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Indiana Department of Environmental Management IN
MS Dept of Environmental Quality MS
Oregon Health Authority OR
Otoe-Missouria Tribe of Oklahoma OK
WY Department of Environmental Quality WY.
Recreation and Conservation Office WA
Texas Commission.on Environmental Quality TX
Oklahoma Water Resources Board OK
North Dakota Department of Environmental. Quality ND
Northwest Indian Fisheries Commission WA
Hualapai Tribe AZ
Environmental Council of the States DC
Muscogee (Creek) Nation OK
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KATHLEEN. KIRKLAND
RICHARD CALLAN
FLORA BARROW
RICHARD CALLAN
SERENA CHUNG
BENJAMIN PACKARD
SYDNEY -CUNNIFF
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DONALD BROOKS
SYDNEY CUNNIFF
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SHERYL STOHS
HARRISON CHENG
ERICA YELENSKY
ANDREA GUAJARDO
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JENNIFER WINTERSTEEN
WILLIAM POST
MATTHEW SEHRSWEENEY
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MATTHEW. COOKE
REGINA CHAPPELL
PAT CHILDERS
MATTHEW RICHARDSON
ELISABETH SCHLAUDT
HANA ABATE

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JEROME OLIVER
ZACHARY. LOWENSTEIN
IVAN NIEVES

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University. of Alaska - Anchorage

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Washington Department of Ecology
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California Environmental Protection Agency

Bishop indian Tribal Council
NV. Dept of Cons & Ntri. Res

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Texas Commission.on Environmental Quality

OK Dept of Env Quality

Standing Rock Sioux Tribe

North Dakota Department of Environmental Quality
CO. Department of Public Health and Environment

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MT Department of Environmental Quality
New. Mexico Environment Department
Recreation and Conservation Office
Washington State Dept. of Natural Resources
NORTHERN ARIZONA UNIVERSITY

Big Valley Rancheria Band of Pomo Indians

WV Dept of Environmental Protection
Rhode Island :D.O.H.

University Enterprises Inc. on behalf of Sacramento State Univ

Alaska Department of Natural Resources

Texas Water Development Board

Oklahoma Water:Resources. Board

VA Dept of Environmental Quality

UT. Department of Environmental. Quality

District of Columbia Govi of dba Department of Energy and Environment
Shoshone Paiute Tribes-of Duck Vailey

Purdue University
AZ-Dept-of Env Quality

Louisiana Department of Natural Resources
Cherokee Nation

Owens Valley Indian Water Commission

ID Dept.-of Environmental. Quality

HI Dept of Health

CO Department of Public Health and Environment
Fond Du Lac Band of Chippewa

Eight.Northern Indian Pueblo. Council

Kansas Department of Health and Environment
Vermont D.E.C.

Recreation and Conservation Office
NV-Dept of Cons -& Ntrl Resources

Shoshone-Bannock Tribes of the Fort Hall Reserv
Penobscot Indian Nation

Pennsylvania Dept of Environmental Protection
Confederated Tribes and Bands. of the Yakama Nation
New Hampshire D.E.S.

Big Valley-Rancheria Band of Pomo Indians

Dry Creek Rancheria

OK Dept of Agriculture ‘Food. and Forestry

Nebraska State Fire Marshall
MT.Department of Environmental Quality

Redwood Valley Little River Band of Pomo Indians
Upper Mattaponi Indian Tribe

NYS Dept of Environmental Conservation

OK Dept of Env Quality

Arkansas Division of Environmental Quality
Washington Department of Ecology

UT Department of Environmental Quality

Arkansas. Natural.Resources Commission

WY Department of Environmental Quality

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TAMARA BARBAKOVA
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Rhode Island D.E.M. RI
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University.of Massachusetts MA
Air Resources Board CA
Monterey-Bay Unified APCD CA
Louisiana Department of Environmental Quality LA
Otoe-Missouria Tribe of Oklahoma OK
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Texas Commission on Environmental Quality TX
The University of North Carolina at Chapel Hill dba Office of Contracts and Grants NC
NV Department of Conservation and Natural Resources NV.
South Carolina Dept. of Health & Envir. Control sc
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CA State Water Res Ctrl Brd CA
Northwest Indian Fisheries Commission WA
Nevada System-of-Higher Education Western Nevada College NV.
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AZ Dept of Env Quality AZ
NV Department of Conservation and Natural Resources NV
White Mountain Apache. Tribe AZ
District of Columbia Govt of dba Department of Energy and Environment DC
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Arkansas Department of Environmental Quality AR
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Pollution Liability Insurance Agency WA
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Oklahoma Water: Resources. Board OK
Missouri Department of Natural Resources MO
UT. Department of Environmental Quality UT
PA Dept of Environmental Protection PA
Kansas. Department of Health and Environment KS
Kansas State University KS
Standing Rock Sioux Tribe ND
Upper Mattaponi Indian Tribe VA
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JENNIFER BROOKS
ROBIN HOLDER

HAZELETTA BURGESS

CAITLYN CHANDLER
JENNIFER BROOKS

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Choctaw Nation of Oklahoma
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San Jose State University
Arkansas Division of Environmental Quality

Burns-Paiute Tribe
Big Valley Rancheria Band of Pomo Indians

OR Dept. of Environ. Quality
State of Idaho Department of Environmental Quality

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Univ. of Vermont and State Agricultural College
Redwood Valley Little River Band of Pomo.indians
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Confederated Tribes and Bands.of the Yakama Nation

VT
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Washington State Dept. of Natural Resources
AZ Dept of Env. Quality

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UT Department of Environmental Quality
Confederated Tribes of the Umatilla Indian Reserv.
Eight Northern Indian Pueblo Council

Houlton Band of Maliseet Indians

Upper Mattaponi Indian Tribe
Tulalip. Tribes. of Washington

Yurok Tribe
Northeast States for Coordinated Air Use Management

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Ozone Transport Commission

Oregon State University

University of Vermont State and Agri. College
Purdue University

University of Florida

West Virginia University

University of Tennessee

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National Experienced Workforce Solutions, Inc.
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Center-For-Workforce Inclusion, Inc.

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Center For Workforce Inclusion, Inc.

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North Carolina State University NC
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Purdue University IN
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University of North Dakota ND
Texas. Tech University TX
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Columbia R2 --Trustees.of Columbia University in NYC dba Columbia University NY
President and Fellows of Harvard College MA
Purdue University Sponsored Program Services IN
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Vanderbilt University

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lowa State University

Duke University

University of Florida

Texas A&M

San Jose State Univ Research Foundation

Washington University

Oklahoma. State University

Water Research Foundation
Regents of the University-of |daho

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Washington University

Worcester-Polytechnic Institute

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The.Regents of the University.of:-CA - Davis

Board of Regents of the Nevada System of Higher Education

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Research Triangle Institute

Regents of the University -of:Colorado

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UofWA - University of Washington
Bd of Regents. NSHE obo DRI
Regents of the University of Colorado
Portland State University

The Regents of the University of CA - Berkeley
Stanford University

The Ohio State University

Public Health Institute

Georgia Tech Research Corporation

Regents of the University-of Michigan

The Regents of the University of California
Tulane University

Cape Cod Commission - Barnstable County
Water: Research Foundation

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Colorado State University- Sponsored Program

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New-York University

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Virginia Polytechnic Institute and State. University

The Regents of the University of CA - Los Angeles

North Carolina State University

The Regents of the University of CA - Riverside

The University of-North Carolina at-Chapel Hill dba Office of Contracts and Grants

Texas A&M

The Research Foundation for SUNY-obo Univ of Buffalo

Georgia Tech Research Corporation
University of Georgia Research Foundation Inc

Research Foundation of CUNY obo CUNY SPH

University of Massachusetts

Purdue University

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University of Houston

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University of North Carolina at Chapel Hill
Wayne State University

MedUniSC - Medical University of South Carolina

The Regents of the University of CA - Berkeley

Regents of the University of Minnesota

Univ-of Wisconsin System-UN of Wi-Madison dba Research & Sponsored Programs
University of Texas at Austin

Curators of the University of Missouri

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Drexel University

THE RAND CORPORATION

The Research Foundation of CUNY/York College

Physicians, Scientists, and Engineers for Sustainable and Healthy Energy Inc.
Puerto Rico Science, Technology.& Research Trust

University of Maryland - Office of Research Adminstration
Stanford University

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Trustees of Boston University

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lowa State University

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The Medical College of Wisconsin, ‘Inc.

Drexel University
University of North Carolina at-Chapel Hill

Texas Tech University
The Ohio State University
Portland State University
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AZ Board of Regents-Arizona State University
University of Massachusetts

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Michigan Technological University
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Carnegie Mellon University
Oklahoma State University

Virginia Polytechnic Institute and State University
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University of Wisconsin - Madison

University of Delaware

Regents of the University of Colorado

University.of Miami

University of Oklahoma
UofWA --University of Washington

Florida State University
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Arizona Board of Regents/Northern Arizona U

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Regents of the University of. Michigan

Western Dakota Technical Institute

University of Utah

Texas State University

The University.of Alabama

Michigan State University

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ERIKA WILSON
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Curators. of the University.of Missouri

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Gonzaga University
Oregon State University

Bail State University
Embry-Riddle Aeronautical University

Montclair State University
Univ of Wisconsin System-UN of Wi-Madison dba Research & Sponsored Programs

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Regents of the University of Colorado
Georgia Southern Univ:-Rerch & Sve Fdn
Manhattan Co - Manhattan College

New Jersey Institute of Technology

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University of Central Florida dba U C F
Purdue University

The University of Texas at Dallas
University.of Wyoming

The University of North Carolina at Asheville
SIU Board of Trustees

Bd of Regents NSHE - obo UNLV

Fort Lewis College

Trustees of the Hamline University of Minnesota

New Jersey. Institute of Technology

Georgetown University

UnivTNBio&En - University of Tennessee at Chattanooga

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Rochester Institute of Technology Inc dba R | T
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The University of Alabama

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SUNY at Binghamton

New Jersey Institute of Technology

Board of Regents of the Nevada System of Higher Education
FashionlT--. Fashion Institute of Technology

Queens University of Charlotte

Worcester Polytechnic Institute

University of Connecticut
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The University of Tennessee

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University of Maryland - Office of Research Adminstration
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The Regents of the University of CA - Riverside
Miami University

Cornell University

Brown University

University of Central Florida

The-University-of Alabama

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The Regents of the University of CA - Riverside

Michigan State University

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Univ. North Carolina at Charlotte

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State Institution of Higher: Learning

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University-of Cincinnati

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Stanford University
AtlanticUniv.- Florida Atlantic University

New Jersey Institute of Technology
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Assoc. St. & Terr:Solid Waste Mgmt.Off,
Kansas State University

international City/County Mgmt.-Assoc.

Eastern lova Community College District
Groundwork USA

Kansas State University
Center-for Creative Land Recycling

international City/County Mgmt. Assoc.
National Rural: Water Association

Rural Community Assistance Partnership Inc
University of New Mexico

Pac NW Poll Prev Res Center
Rural Community Assistance Partnership Inc

Alaska Municipal League
University.of New.Mexico

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National Rural Water Association

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National Rural Water Association
University of New.Mexico

New England Interstate Water Pollution Control Commission
National Rural Water Association

New Engjiand Interstate Water Pollution Control Commission
New.England Interstate Water Pollution Control Commission
Assoc. St. & Terr Solid Waste Mgmt. Off.
Assoc. St. & Terr Solid Waste Mgmt. Off.

Association of State Wetland Managers Inc
National Fish & Wildlife Foundation

Association of State Wetland Managers Inc
Environmental Law Institute

Environmental Law Institute
Environmental Law-Institute

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University of Montana System

Montana State University-Bozeman-Taylor
Association of State. Wetland Managers Inc
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ENVIRONMENTAL-LAW- INSTITUTE, THE

Oregon State University

Nez Perce Tribe

Gonzaga University

Bellingham. Public Schoois

Esperanza Community Housing Corporation

AZ Board of Regents-Arizona State University

MT Department of Public Health and Human Services
UT Department of Environmental. Quality
COLORADO DEPARTMENT OF PUBLIC HEALTH & ENVIRONMENT
Association of State Drinking Water: Administrators

WV University Research Corporation
Michigan Technological University

Arizona Board of Regents/Northern Arizona U

ReFed --ReFed Inc.

Assoc. St. & Terr Solid Waste Mgmt. Off.

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HAZELETTA BURGESS HAYLEY. AJA

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JENNIFER BROOKS
BRANDON EPIERCE
ROBIN HOLDER

HAZELETTA BURGESS
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ALISON HANLON
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CAITLYN CHANDLER
ROBIN HOLDER
CAITLYN CHANDLER
JENNIFER BROOKS
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MATTHEW WOSJE
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1019 Annual

654 Six Months

593 Annual
228 Annual

289 Six Months

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1903. Annual
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685 Annual
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654 Six Months

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Association of Schools and Programs.of Public Health

Association of Schools and Programs of Public Health
American Association Advancement of Science

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Page 88 of 95

American Association Advancement of Science
Assoc.-.of State & Territorial Health Officials
Duke University

Gordon Research Conferences

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Battelle Memorial Institute

Org. for Economic Coop. and Dev.
United Nations Environment Programme
Battelle Memorial Institute

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Organization for Econ Cooperation and Development
Kansas State University

Environmental Council of the States

Environmental Council of the States

Ground Water Protection Council Inc

Association of State Drinking Water Administrators

FC
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University of New Mexico

National Rural. Water Association

Rural Community Assistance Partnership Inc
Rural:Community-Assistance. Partnership Inc
National Rural Water Association
Conservation Technology. Information Center
Environmental Law Institute

Association of Clean Water Administrators
Association of Clean Water Administrators
Northern Arizona University

Environmental Law Institute

Council of infrastructure Financing Authorities
American Water Works Association

New. Engiand Interstate Water:Pollution Control Commission

University of New Mexico
Univ.of Wisconsin System-UN of Wi-Madison dba Research & Sponsored Programs

Association of Clean Water Administrators
New-England Interstate Water Pollution Control Commission

New England Interstate Water Pollution Control Commission
Environmental Law Institute

New Engiand Interstate Water Pollution Control Commission
American Farmland Trust

Center for Watershed Protection Inc.

Environmental Law institute

Association of State Wetland Managers Inc

Association of State Wetland Managers Inc

Upper Mississippi River Basin Assn

Association of State Wetland Managers Inc

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Environmental Law Institute
Rural:-Community-Assistance Partnership Inc
National Rural Water Association
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Association of Clean Water Administrators
Rural. Community Assistance Partnership Inc

Rural Community Assistance Partnership Inc
Northern Arizona University

Rural Community Assistance Partnership Inc
Open Space Institute Land Trust, Inc.
Michigan State University

Extension Foundation

Michigan State University
University. of California-Davis

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ALISON HANLON
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ROBIN. HOLDER

BRANDON EPIERCE
SHANA ETHERIDGE

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HAZELETTA BURGESS
BRANDON EPIERCE
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ALISON HANLON

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MATTHEW FORTE

Entry Number 85-1

MATTHEW.-FLOYD
MATTHEW FLOYD
KATHERINE BOULTON
KATHERINE BOULTON
ERIN MCCABE
HAYLEY AJA
ELIZABETH SAMS
ORLANDO GONZALEZ
MEGAN BARNHART.
RACHEL WESTRATE
ORLANDO.GONZALEZ
MEGAN BARNHART
ELNORA THOMPSON
DAN MURPHY
ANNIKA NELSON
SHERRI COMERFORD
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BRIANNA KNOPPOW
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SARAH LEHMANN
CYNTHIAN JOHNSON
KATELYN AMRAEN
JENNIFER CHAN
KAREN.GUDE

MYRA PRICE
FRANCES JOSEPHS
FRANCES JOSEPHS
FRANCES JOSEPHS
ALMA HIDALGO
KATIE ELAHIVE
MARIA CARMEN MARTINEZ
ROSAURA CONDE
MARGOT BUCKELEW
ROSAURA CONDE
TEAGAN ROSTOCK
WHITNEY KING
CATHERINE BRADY
ROSAURA CONDE
ELLIE FLAHERTY
MYRA PRICE
WHITNEY KING

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ROSAURA CONDE
SHERRI COMERFORD
SHERRI COMERFORD
ALMA HIDALGO

KIT FARBER

DANIELA ROSSI
ALMA HIDALGO
HOLLY: GALAVOTTI
FRANCES JOSEPHS
STEVEN EPTING
CYNTHIA CURTIS
RYNE YARGER
JEANNE KASAI

AIDAN BLACK
VANESSA EMERSON
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6/30/2024
9/30/2023
10/31/2025
8/31/2026
9/30/2025
1131/2028
8/31/2028
3/31/2028

Date Filed 04/18/25

1142 Annual
1323 Annual
1323 Annual
988 Annual
807 Annual
228 Annual

228 Six Months

76 Annual
2845. Annual
2541 Annual
1506 Annual
1506 Annual
1506 Annual
1141 Annual
1141. Annual
4050 Annual
1019 Annual
1050 Annual
1050 Annual

958 Annual
562 Annual
258 Annual
228 Annual
289 Annual
258 Annual
350 Annual

Entry Number 85-1

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Association of Farmworkers Opportunity Programs

Entry Number 85-1

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Arizona Board of Regents/Northern Arizona U
Zencder Environmental Heaith and: Research Group

University of California-Davis

AZ
AK
CA
EC

Organization for Econ Cooperation and Development

Extension Foundation
Poll Part - Pollinator. Partnership

MO
CA

Oregon State University
international Council. on Clean Transportation

OR
DC

Weber State University
United Nations Foundation
CO State University
Stanford University

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co
CA

Council of State Governments

KY
DC

American Lung Association

Kansas State University
Environmental Law Institute

KS
DC

Public Health Institute

CA

MD

National Center for Healthy Housing

National Association of Clean Air Agencies

DC

Northern Arizona University

AZ

United Nations Foundation
National Association of Clean Air Agencies

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International City/County Mgmt. Assoc.
National Indian Health Board
institute for Sustainable Communities

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Not for Profit

State Institution of Higher Learning
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State Institution of Higher Learning
Foreign Recipient

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State Institution of Higher Learning
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Date Filed 04/18/25

ALISON: HANLON
JENNIFER BROOKS
SHANA ETHERIDGE
JENNIFER BROOKS
BRANDON EPIERCE
CAITLYN CHANDLER
JENNIFER BROOKS
SHANA ETHERIDGE
ALISON HANLON
THUYT NGUYEN
ALISON HANLON
MATTHEW FORTE
JENNIFER BROOKS
BRANDON EPIERCE
ALISON HANLON
CAITLYN CHANDLER
ALISON HANLON

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Not for Profit

JENNIFER BROOKS
ROBIN HOLDER
ALISON HANLON
JENNIFER BROOKS
ALISON HANLON
ALISON HANLON
ALISON HANLON
ALISON HANLON
SHANA ETHERIDGE

Entry Number 85-1

ANA RIVERA-LUPIANEZ
LINSEY WALSH

IRINA MYERS
STEPHANIE BURKHARDT
IRIS: CAMACHO-RAMOS
ISABEL GROSS
VENESE WILLIAMS
ANA RIVERA-LUPIANEZ
FAYE SWIFT

NICOLAS WITKOW SKI
JESSICA KROENERT
JESSICA KROENERT
ERIC SMITH

NED DOWDELL
PEGGY BAGNOLI
THOMAS BOWLES
JASON WILCOX
SHEILA BROWN
KIRSTEN GILL

NED DOWDELL

PAT: CHILDERS
JESSICA KROENERT
NED DOWDELL
JASMIN MURIEL
CHARLENE WANG
DARLENE BYRD

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